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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



CHARLES YODER,                                                      Civil File No. 10-CV-2101

               Plaintiff,

vs.                                                           STIPULATION OF DISMISSAL
                                                                       WITH PREJUDICE
TRINITY HOPE ASSOCIATES, LLC,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), the plaintiff Charles Yoder, and the defendant,

Trinity Hope Associates, LLC hereby stipulate to the dismissal of the above-styled case and any

claims that were raised or that could have been raised in this action, with prejudice, each side to

bear its own costs and attorneys fees.

                                             Respectfully submitted,

Dated: June 2, 2010________                  By __/s/J. Mark Meinhardt
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                                             4707 College Boulevard, Suite 100
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                                             ATTORNEY FOR PLAINTIFF


Dated: June 2, 2010 ________                 By __/s/ Michelle A. Fox________
                                             Michelle A. Fox, #17242
                                             Daniel S. Rabin, #13253
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